                                               UNITED STATES BANKRUPTCY COURT
                                                      DISTRICT OF ARIZONA

 Name of Debtor(s) listed on the bankruptcy case
 In re:                                                                   CASE NO.: 2:23-bk-01381-BKM


 DONALD STEWART MERRITT, III and SAVANNA L
 WEEKS

                                                                          DEBTOR CHANGE OF ADDRESS



1. This change of address is requested by :                              Debtor            Joint-Debtor

2. Old Address:
     Name(s):                 ___________________________________________________________________________
                               DONALD STEWART MERRITT, III and SAVANNA L WEEKS
     Mailing Address:         ___________________________________________________________________________
                              12337 W FLORES DR
     City, State, Zip Code: ___________________________________________________________________________
                            EL MIRAGE, AZ 85335

3. New Address:
     Mailing Address:       ___________________________________________________________________________
                            1113 Ralph Rd.
     City, State, Zip Code: ___________________________________________________________________________
                            Newark DE 19713

4.        Check here if you are a Debtor or a Joint Debtor and you receive court orders and notices by email (DeBN) rather
          than by U.S. mail to your mailing address. Please provide your DeBN account number below (DeBN account
          numbers can be located in the subject title of all emailed court orders and notices).

          Debtor’s DeBN account number__________________________________

          Joint Debtor’s DeBN account number__________________________________




Date:________________
     7/6/23                                     __________________________________________________________
                                                THOMAS MCAVITY
                                                Requestor’s printed name(s)

                                                _________________________________________________________
                                                Requestor’s signature(s)

                                                _________________________________________________________
                                                DEBTORS' ATTORNEY
                                                Title (if applicable, of corporate officer, partner, or agent)




                  This form has been approved for use by the United States Bankruptcy Court for the District of Arizona.
        Case 2:23-bk-01381-BKM
Sept 2015                                        Doc 22 Filed 07/06/23 Entered 07/06/23 10:39:14  Desc
                                                                                             CHANGE.OF.ADDRESS
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